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      ~AO 2458 (CASD) (Rev. 4/14)   Judgment in a Criminal Case                                                                FILED
                Sheet 1




                                               UNITED STATES DISTRICT COU                                                CLERK, U.s. o:;;nm::H:OlJlrr
                                                                                                                  """"u'1'(H~Il\~ mllnlllW OF CALiI"()WJ1!M
                                                   SOUTHERN DISTRICT OF CALIFORNIA                                             •..~~ ...• ~..___.•~.!?!~I!I!
                     UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                         v.                                         (For Offenses Committed On or After November I, 1987)

                    JOEY RANDALL HOLLOWAY [1]                                       Case Number: 13CR4423-BTM
                                                                                    NANCY BRYN ROSENFELD
                                                                                    Defendant's Attorney
     REGISTRATION NO. 45926298

     o
     THE DEFENDANT:
     181 pleaded guilty to count(s) I OF THE SUPERSEDING INFORMATION
     o     was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
     Title & Section                          Nature of Offense                                                                             Number(s)
8 USC 1324(a)(1)(A)(ii) and            Transportation of an Illegal Alien and Aiding and Abetting                                                   1
(v)(1I)




        The defendant is sentenced as provided in pages 2 through _ _.:!4~_ of this judgment. The sentence is imposed pursuant
 o
 to the Sentencing Reform Act of 1984.
      The defendant has been found not guilty on count(s) _ _ _ _-,-_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 181 Count(s) Underlying Infonnation                                                 is   181   areO dismissed on the motion ofthe United States.
 I8J Assessment: $100 to be paid at the fate of$25 per quarter through the Inmate Financial Responsibility Program.

 181 Fine waived                                    o    Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                               JUNE 13,2014
                                                                              Date of Imposition of Sentence



                                                                              HON.B              EDMOSKOWlTZ                        .
                                                                              UNITED STATES DISTRICT JUDGE



                                                                                                                                              13CR4423-BTM
,,          Case 3:13-cr-04423-BTM                      Document 71          Filed 06/16/14           PageID.193      Page 2 of 4
     AD 245B (CASD) (Rev. 4/14)   Judgment in a Criminal Case
                 Sheet 2 - Imprisonment

                                                                                                        Judgment-Page _-.;;.2_ of    4
      DEFENDANT: JOEY RANDALL HOLLOWAY [I]
      CASE NUMBER: 13CR4423-BTM
                                                                  IMPRISONMENT
              The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
              TWENTY-FOUR (24) MONTHS.



          o   Sentence imposed pursuant to Title 8 USC Section I 326(b).
                                                                                                BARR       ED MOSKOWITZ
          181 The court makes the following recommendations to the Bureau of Prisons:           UNITED STATES DISTRICT JUDG
              That the defendant participate in the 500 hour RDAP program. That the defendant serve his sentence at an institution in
              Southern California to facilitate family visits.



          o   The defendant is remanded to the custody of the United States Marshal.

          o   The defendant shall surrender to the United States Marshal for this district:
                Oat                                      Oa.m.      Op.m.       on _ _ _ _ _ _ _ _ _ __

                    as notified by the United States Marshal.

          o   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               o    before
                             --------------------------------
               o    as notified by the United States Marshal.
               o    as notified by the Probation or Pretrial Services Office.


                                                                       RETURN

     I have executed this judgment as follows:

              Defendant delivered on                                                       to

     at                                                     with a certified copy of this judgment.


                                                                                                      UNITED STATES MARSHAL


                                                                             By _ _ _ _~~~~~~~~~~-----
                                                                                                 DEPUTY UNITED STATES MARSHAL




                                                                                                                              13CR4423-BTM
·, '.. Case 3:13-cr-04423-BTM Document 71 Filed 06/16/14 PageID.194 Page 3 of 4
   AO 2458 (CASD) (Rev.4/14) Judgment in a Criminal Case
                 Sheet 3 -   Supervised Release
                                                                                                                  Judgment Page        3     of        4
   DEFENDANT: JOEY RANDALL HOLLOWAY [1]                                                                  II
   CASE NUMBER: 13CR4423-BTM
                                                             SUPERVISED RELEASE
   Upon release from imprisonment, the defendant shall be on supervised release for a term of:
   THREE (3) YEARS.

            The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
   the custody of the 8 ureau of Prisons.
   The defendant shall not commit another federal, state or local crime.
   For offenses committed all or after September 13, 1994:
   The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use ofa controlled
   substance. The defendant shall submit to one drug test within 15 days of rei case from imprisonment and at least two periodic drug tests
   thereafter as determined by the court. Testing requirements wi1l not exceed submission of more than 4 drug tests per month during
   the term of supervision, unless otherwise ordered by court.                                          --

   D The above drug testing ,condition is suspended, based on the court's detennination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
          The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
          Backlog Elimination Act of2000,.pursuant to 18 USC sections 3563(a)(7) and 3583(d).
          The defendant shall comply with (fie requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
          by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
          was convicted of a qualifying offense. (Check if applicable.)
   D      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
             If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
   or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
   fOfth in this judgment.
            The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
   any special conditions imposed.

                                             ST ANDARD CONDITIONS OF SUPERVISION
     I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)    the defendant shall support his or her dependents and meet other family responsibilities;
     5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
     6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)    the defendant shaH not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
           a feJony. unless granted permission to do so by the probation officer;
    10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;                                                  .
    11)    the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
    12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
    13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by thedefendant's criminal
           record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant's compliance with such notification requirement.

                                                                                                                                           13CR4423-BTM
.' ..           Case 3:13-cr-04423-BTM                     Document 71        Filed 06/16/14         PageID.195           Page 4 of 4
            AO 245B (CASD) (Rev. 4/14) Judgment in a Criminal Case
                       Sheet 4 - Special Conditions
                                                                                                             Judgment Page ~ of              4
            DEFENDANT: JOEY RANDALL HOLLOWAY [1]                                                        II
            CASE NUMBER: 13CR4423-BTM




                                                 SPECIAL CONDITIONS OF SUPERVISION
 IV1 Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
 ~ a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
        a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
        this condition.

 I8l Participate in a program of drug or alcohol abuse treatment including testing and counseling, with at least 1 to 8 tests per month and 1 to 8
        counseling sessions per month as directed by the probation officer.
 o Not transport, harbor, or assist undocumented aliens.
 o Not associate with undocumented aliens or alien smugglers.
 o Not reenter the United States illegally.
 I8l Not enter the Republic of Mexico without written permission of the Court or probation officer.
 I8l Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
 I8l Not possess any narcotic drug or controlled substance without a lawful medical prescription.
 I8l Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
 I8l Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release of the pre-sentence
        report and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant shall
        consent to the release of evaluations and treatment information to the probation officer and the Court by the mental health provider.



 o Take  no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
   officer, if directed.
 o Provide complete disclosure of personal and business financial records to the probation officer as requested.
 o placement.
   Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of days upon release. This is a non punitive


 I8l Seek and maintain full time employment and/or schooling or a combination of both.
 o Resolve all outstanding warrants within days.
 o Complete hours of community service in a program approved by the probation officer within
 I8l Abstain from all use of alcohol.
 o      If deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter the United
        States illegally and report to the probation officer within 72 hours of any reentry to the United States; the other conditions of supervision are
        suspended while the defendant is out of the United States after deportation, exclusion, or voluntary departure.




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